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 1 KYLE R. KNAPP - SBN 166597
   Attorney at Law
 2 916 2nd Street, 2nd Floor
   Sacramento, CA 95814
 3 Telephone: (916) 441-4717
   Facsimile: (916) 4441-4299
 4

 5 Attorneys for Defendant
   Joshua Sims
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 7
                                  IN THE UNITED STATES DISTRICT COURT
 8
                                     EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                              CASE NO. 2:18-CR-010-TLN
11                                  Plaintiff,              STIPULATION REGARDING EXCLUDABLE
                                                            TIME PERIODS UNDER SPEEDY TRIAL ACT;
12                           v.                             FINDINGS AND ORDER
13   JOSHUA SIMS et al.,                                    DATE: November 14, 2019
                                                            COURT: Hon. Troy L. Nunley
14                                 Defendants.
15

16                                               STIPULATION

17          1.       This stipulation concerns one of thirteen indicted related cases, which all arise out of a

18 common investigation.

19          2.       By previous order, this matter was set for status on August 29, 2019.

20          3.       By this stipulation, the Government and counsel for the defendants in the above-

21 captioned case now move to continue the status conference to November 14, 2019, at 9:30 a.m.

22          4.       The parties also seek to exclude time between August 27, 2019, and November 14, 2019

23 under Local Codes T2 and T4.

24          5.       The parties agree and stipulate, and request that the Court find the following:

25          a)       As of this stipulation, the Government has produced more than 10,000 pages of written

26 discovery to the defendants as a group, as well as 45 DVDs containing audio and visual surveillance

27 recordings. (Each defendant has also received a copy of his or her criminal history, if one exists, and a

28 small amount of additional written discovery has been produced to a subset of defendants.).

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 1          b)       On or around February 8, 2019, the previously court-appointed discovery-coordination

 2 attorney (the “DCA”) made wiretap discovery available to defense counsel.

 3          c)       Counsel for the above-captioned defendants again desire additional time to further review

 4 the discovery received in this matter. This review will enable counsel to scrupulously evaluate the

 5 evidence against their respective clients, conduct ancillary research, and consult with their respective

 6 clients on how to proceed in their cases.

 7          d)       In addition, several defendants have received plea offers and additional time is needed to

 8          research the relevant guidelines and fully discuss the dynamics with our clients.

 9          e)       Counsel for the defendants believe that failure to grant the above-requested continuances

10 would deny them the reasonable time necessary for effective preparation, taking into account the

11 exercise of due diligence.

12          f)       The government does not object to the continuances.

13          g)       Based on the above-stated findings, the ends of justice served by continuing the case as

14 requested outweigh the interest of the public and the defendant in a trial within the original date

15 prescribed by the Speedy Trial Act.

16          h)       Further, given that the discovery in this case arises from a single investigation and is

17 being produced to twenty-seven defendants in thirteen cases, the Court has previously designated the

18 matter as “complex” for the purpose of providing an exclusion of time under Local Code T2. The

19 parties submit that the foregoing stipulation provides a continued basis for such an exclusion.

20          i)       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et seq.,

21 within which trials must commence, the time periods of August 27, 2019 to November 14, 2019,

22 inclusive, are deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4] because

23 they result from continuances granted by the Court at the defendants’ requests on the basis of the

24 Court’s finding that the ends of justice served by taking such action outweigh the best interest of the

25 public and the defendants in speedy trials.

26          j)       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et seq.,

27 within which trials must commence, the time periods of August 27, 2019, to November 14, 2019,

28 inclusive, are deemed excludable pursuant to 18 U.S.C. § 3161(h)(7)(A), (ii) because they result from

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 1 continuances granted by the Court at defendants’ requests on the basis of the Court’s finding that the

 2 matters are sufficiently complex that it would be unreasonable to expect adequate preparation absent the

 3 exclusions of time.

 4          6.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

 5 Speedy Trial Act dictate that additional time periods are excludable from the periods within which trials

 6 must commence.

 7          IT IS SO STIPULATED.

 8   Dated: August 27, 2019                                    MCGREGOR W. SCOTT
                                                               United States Attorney
 9
                                                               /s/ JUSTIN LEE
10                                                             JUSTIN LEE
                                                               Assistant United States Attorney
11

12
     Dated: August 27, 2019                                    /s/ DANIEL L. OLSEN
13                                                             DANIEL L. OLSEN
                                                               Counsel for Defendant James Masterson
14

15   Dated: August 27, 2019                                    /s/ CANDICE L. FIELDS
                                                               CANDICE L. FIELDS
16                                                             Counsel for Defendant Reggie Pajimola
17
     Dated: August 27, 2019                                    /s/ KYLE R. KNAPP
18                                                             KYLE R. KNAPP
                                                               Counsel for Defendant Joshua Sims
19

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21

22                                           FINDINGS AND ORDER
23          IT IS SO FOUND AND ORDERED this 27th day of August, 2019.

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25

26
                                                                 Troy L. Nunley
27                                                               United States District Judge
28

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